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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

 JERRY BROOKS,

         Plaintiff,
                                              CASE NO.:
 v.

 CAPSTONE LOGISTICS, LLC,

       Defendant.
 ____________________________________/

                      COMPLAINT AND DEMAND FOR JURY TRIAL

         Plaintiff, JERRY BROOKS, by and through undersigned counsel, brings this

 action against Defendant, CAPSTONE LOGISTICS, LLC, and in support of his claim

 states as follows:

                             JURISDICTION AND VENUE

         1.      Because Plaintiff’s claims are brought pursuant to the private right of

 action provided for under 29 U.S.C. § 216(b)‚ they arise under the laws of the United

 States‚ and the Court has subject matter jurisdiction under 28 U.S.C. § 1331.

         2.      Venue in this district is proper pursuant to 28 U.S.C. § 1391(b) and (c),

 because a substantial part of the events giving rise to the claims occurred in this

 jurisdiction.

                                        PARTIES

         3.      Plaintiff is a resident of Hillsborough County and he worked for

 Defendant in Tampa, in Hillsborough County, Florida.
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         4.    Defendant is a foreign corporation in the business of providing third party

 logistics specializing in warehousing and fulfillment, freight management and

 transportation services. Defendant employed Plaintiff at the US Foods facility located at

 7004 E. Hannah Avenue in Tampa, in Hillsborough County, Florida.

                               GENERAL ALLEGATIONS

         5.    Plaintiff has satisfied all conditions precedent, or they have been waived.

         6.    Plaintiff has hired the undersigned attorneys and agreed to pay them a fee.

         7.    Plaintiff requests a jury trial for all issues so triable.

         8.    At all times material hereto, Plaintiff was “engaged in the production of

 goods” for commerce within the meaning of Sections 6 and 7 of the FLSA, and as such

 was subject to the individual coverage of the FLSA.

         9.    At all times material hereto, Plaintiff was an “employee” of Defendant

 within the meaning of the FLSA.

         10.   At all times material hereto, Defendant was an “employer” within the

 meaning of the FLSA, 29 U.S.C. § 203(d).

         11.   Defendant continues to be an “employer” within the meaning of the

 FLSA.

         12.   At all times material hereto, Defendant was and continues to be an

 enterprise engaged in the “providing of services for commerce” within the meaning of the

 FLSA, 29 U.S.C. §§ 203(r) and 203(s).

         13.   At all times relevant to this action, the annual gross sales volume of

 Defendant exceeded $500,000 per year.



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           14.   At all times material hereto, the work performed by Plaintiff was directly

 essential to the business performed by Defendant.

                                           FACTS

           15.   Plaintiff began working for Defendant as a warehouse associate in April

 2019, and he worked in this capacity until July 2019.

           16.   At various times material hereto, Plaintiff worked hours in excess of forty

 (40) hours within a work week for Defendant, and he was entitled to be compensated for

 these overtime hours at a rate equal to one and one-half times his regular hourly rate.

           17.   Defendant failed to pay Plaintiff an overtime premium for all of the

 overtime hours that he worked, in violation of the FLSA.

           18.   In exchange for Plaintiff’s services, Defendant agreed to pay Plaintiff a

 salary of eleven dollars and zero cents ($11.00) per hour plus thirty-five cents (.35) per

 pallet.

           19.   At various times material hereto, Defendant failed to pay Plaintiff his

 regular agreed upon wages for certain hours that he worked over forty (40) hours in one

 work week.

           20.   Defendant’s actions were willful, and showed reckless disregard for the

 provisions of the FLSA.

                      COUNT I – FLSA OVERTIME VIOLATION

           21.   Plaintiff re-alleges and readopts the allegations of paragraphs 1 through 20

 of this Complaint, as though fully set forth herein.




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        22.     During the statutory period, Plaintiff worked overtime hours while

 employed by Defendant, and he was not compensated for all of these hours in accordance

 with the FLSA.

        23.     The foregoing conduct, as alleged, constitutes a willful violation of the

 FLSA, within the meaning of 29 U.S.C. § 255(a).

        24.     As a result of the foregoing, Plaintiff has suffered damages.

        WHEREFORE, Plaintiff demands:

                a)      Judgment against Defendant for an amount equal to Plaintiff’s

                        unpaid back wages at the applicable overtime rate;

                b)      Judgment against Defendant, stating that Defendant’s violations of

                        the FLSA were willful;

                c)      An amount equal to Plaintiff’s overtime damages as liquidated

                        damages;

                d)      To the extent liquidated damages are not awarded, an award of

                        prejudgment interest;

                e)      A declaratory judgment that Defendant’s practices as to Plaintiff

                        were unlawful, and a grant of equitable relief to Plaintiff;

                f)      All costs and attorney’s fees incurred in prosecuting these claims;

                        and

                g)      For such further relief as this Court deems just and equitable.

                                 JURY TRIAL DEMAND

        Plaintiff demands trial by jury as to all issues so triable.



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       Dated this 30th day of September, 2019.

                                             Respectfully submitted,

                                             /s/ Brandon J. Hill_________________
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